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            4
                Attorney for Defendant
            5
                DUANE ALLEN EDDINGS
            6
            7
            8                          IN THE UNITED STATES DISTRICT COURT

            9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

           10                                    SACRAMENTO DIVISION

           11
           12   UNITED STATES OF AMERICA,                   )   Case No. CR S 09 0074 JAM
                                                            )
           13                            Plaintiff,         )   STIPULATION AND ORDER TO
                                                            )   CONTINUE STATUS CONFERENCE
           14         vs.                                   )
                                                            )   DATE: February 11, 2011
           15   DUANE ALLEN EDDINGS,                        )   TIME: 9:30 a.m.
                                                            )   CTRM. Honorable John A. Mendez
           16                            Defendant.         )
                                                            )
           17                                               )

           18          It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
           19   AMERICA, through its counsel of record, Matthew C. Stegman, Assistant United States
           20   Attorney, defendant DUANE ALLEN EDDINGS, through his counsel of record, Joseph
           21   J. Wiseman, that the status conference scheduled for February 11, 2011, at 9:30 a.m., be
           22   rescheduled to March 1, 2011, 9:30 a.m.
           23          The parties further stipulate and agree that a continuance is appropriate in this
           24   case and request that the time beginning February 11, 2011 and extending through
           25   March 1, 2011, be ordered excluded from the calculation of time under the Speedy Trial
           26   Act. The ends of justice will be served by the Court excluding such time, so that counsel
           27   for the Defendant may have reasonable time necessary for effective preparation, taking
           28   into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7).


                STIPULATION AND ORDER TO CONTINUE STATUS                                   CR S 09-0074 JAM
                CONFERENCE



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            1          Specifically, the defendant and his counsel of record need additional time to
            2   review a proposed plea agreement the government intends to provide to the defendant
            3   prior to the government superseding the present indictment.
            4          The parties submit that the interests of justice served by granting this
            5   continuance outweigh the best interests of the public and the defendant in a speedy
            6   trial. 18 U.S.C. § 3161(h)(7).
            7   Dated: January 27, 2011                    Respectfully submitted,
            8                                              JOSEPH J. WISEMAN, P. C.
            9                                              By:    /s/ Joseph J. Wiseman
                                                              JOSEPH J. WISEMAN
           10                                                 Attorney for Defendant,
                                                              DUANE ALLEN EDDINGS
           11
           12
           13   Dated: January 27, 2011                    BENJAMIN B. WAGNER
                                                           United States Attorney
           14
           15                                              By:    /s/ Matthew C. Stegman
                                                              MATTHEW C. STEGMAN, AUSA
           16                                                 Attorney for Plaintiff
                                                              UNITED STATES OF AMERICA
           17
           18
           19
                                                           ORDER
           20
           21          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
           22   status hearing in the above-captioned case be continued to March 1, 2011, at 9:30 a.m.
           23   IT IS FURTHER ORDERED THAT the time from the date of this Order to March 1,
           24   2011 be excluded pursuant to 18 U.S.C. §§ 3161(h)(7) (ends of justice are served by
           25   granting the continuance outweigh the best interest of the public and the defendant in a
           26   speedy trial) and Local Rule T4.
           27
           28   Dated: February 2, 2011                          /s/ John A. Mendez____________
                                                                 HONORABLE JOHN A. MENDEZ
                                                                 UNITED STATES DISTRICT JUDGE
                STIPULATION AND ORDER TO CONTINUE STATUS                                    CR S 09-0074 JAM
                CONFERENCE



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